

Matter of Ortega v Sanchez (2021 NY Slip Op 03185)





Matter of Ortega v Sanchez


2021 NY Slip Op 03185


Decided on May 19, 2021


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 19, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

SYLVIA O. HINDS-RADIX, J.P.
HECTOR D. LASALLE
FRANCESCA E. CONNOLLY
LINDA CHRISTOPHER, JJ.


2020-00153
 (Docket No. V-1976-18)

[*1]In the Matter of Alfredo Intriago Ortega, petitioner- respondent, 
vJoyce Sanchez, appellant, Administration for Children's Services, respondent-respondent. Richard J. Cardinale, Brooklyn, NY, for appellant. Michael E. Lipson, Jericho, NY, for petitioner-respondent.


James E. Johnson, Corporation Counsel, New York, NY (Rebecca L. Visgaitis and Julia Bedell of counsel), for respondent-respondent.
Janet E. Sabel, New York, NY (Dawne A. Mitchell and Susan Clement of counsel), attorney for the child.



DECISION &amp; ORDER
In a proceeding pursuant to Family Court Act article 6, the mother appeals from an order of the Family Court, Queens County (Joan L. Piccirillo, J.), dated July 2, 2019. The order, upon the consent of the parties, granted that branch of the father's petition which was for sole custody of the subject child.
ORDERED that the appeal is dismissed, without costs or disbursements.
The record reflects that during an appearance before the Family Court, the mother consented on the record to the order awarding sole custody of the subject child to the father. No appeal lies from an order entered upon consent of the appealing party (see CPLR 5511; Matter of Chloe W. [Tara W.], 188 AD3d 707, 708; Matter of Jessica M. v Julio G.R., 176 AD3d 584; Matter of Abigail R. [Ishwardat R.], 125 AD3d 780, 781; Matter of Cooper v Administration for Children's Servs., 293 AD2d 605). To the extent that the mother contends that her consent to the order was not voluntary or was otherwise invalid, her remedy is to move in the Family Court to vacate the order (see Matter of Rinaldi v Faiella, 172 AD3d 871, 872; Matter of Comoletti v Papapietro, 171 AD3d 745, 746; Matter of Sasha J.J. [Danielle L.], 144 AD3d 681, 682; Elsayed v Edrees, 141 AD3d 503, 504).
HINDS-RADIX, J.P., LASALLE, CONNOLLY and CHRISTOPHER, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








